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4
     Attorney for ALFONSO RIVERA, Jr.
5
                              IN THE UNITED STATES DISTRICT COURT
6
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,                   )   Case No. 2:17-CR-64 JAM
9                                                )
         Plaintiff,                              )   ORDER FOR EMERGENCY
10                                               )   TRAVEL TO ATTEND FUNERAL
                  vs.                            )
11                                               )
     ALFONSO RIVERA, Jr.,                        )   Judge: Hon. Carolyn K. Delaney
12                                               )   Date: July 9, 2020
         Defendant.                              )   Time: 2:00 p.m.
13                                               )
                                                 )
14                                               )
15
            IT IS HEREBY ORDERD THAT the Sacramento County Sheriff release defendant
16
17   Alfonso Rivera, Junior, at or before 10:00 a.m. on July 10, 2020, for the purpose of Mr. Rivera,

18   Junior, attending the funeral of his brother, Norberto Rivera.

19          IT IS HEREBY ORDERED THAT Nicole Cameron, the wife of Alfonso Rivera, pick up
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     Mr. Alfonso Rivera, Jr., from the Sacramento County jail at 651 I Street at or before 10:00 a.m.
21
     on July 10, 2020, and return Mr. Rivera to the Sacramento County jail at 651 I Street by 6:00
22
     p.m. on the same day.
23
24          IT IS FURTHER ORDERED that private investigator Martin Whited drive in a vehicle

25   right behind the vehicle driven by Nicole Cameron while Alfonso Rivera is in her vehicle.

26          IT IS FURTHER ORDERED THAT Nicole Cameron drive defendant Alfonso Rivera,
27
     Jr., directly to Orland, California, to attend the 1:00 p.m. church funeral service and burial
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     service of Norberto Rivera, with private investigator Martin Whited following behind them.
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1           IT IS FURTHER ORDERED that after arriving in Orland, California, that Alfonso
2    Rivera, Jr., be at all times in the company of investigator Martin Whited until Mr. Rivera, Jr., is
3
     returned to the Marshals Service.
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            IT IS FURTHER ORDERED that Alfonso Rivera, Jr., consume no alcohol or drugs at
5
     any time on July 10, 2020.
6
7           IT IS FURTHER ORDERED that at all times on July 10, 2020, all persons at the funeral

8    services, including Alfonso Rivera, Jr. and investigator Whited, abide by CDC guidelines for
9    COVID-19, including wearing masks, practicing social distancing, and washing hands
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     frequently. Defendant Alfonso Rivera, Jr., understands that he may be quarantined by the staff at
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     the Sacramento County jail when he returns to the jail.
12
            IT IS SO FOUND AND ORDERED.
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14   Dated: July 9, 2020

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